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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESS\EE BY-»~- ----»--D'c‘

WESTERN DIVISION
05 AUG 25 AHI|= 33
WILLIAM R_AY INGRAM, ` _, ,`
mass vi anew

_ _ Rt U.S. D§SW&CT COUHT
Plalntl ff, CLEW}‘D 051 TN, MEMPH]S

v. No. 05-2095 B/An
CITICORP CREDIT SERVICES, INC. (USA)
d/b/a GOODYEAR CREDIT PLAN and

BRYANT TIRE & APPLIANCE CENTER,
INC. d/b/a GOODYEAR,

Defendants.

 

ORDER ADOPTING MAGISTRATE JUDGE’S REPORT & RECOMMENDATION

 

Before the Court is Det`endant Citibank USA, National Asso<:iation’sl Motion to Stay
Proceedings in Favor of Arbitration filed on June 2, 2005. The Court referred the matter to
Magistrate Judge S. Thomas Anderson. On July l 1, 2005, the magistrate judge entered a report and
recommended that the motion be granted According to the Coult's docket, no objections to the
report and recommendation have been filed. A party Who disagrees With the proposed findings and
recommendations must file Written objections Within ten days of service of the recommendations
Y 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). Based upon a de novo review ofthe record and
the lack of any objections, the Court ADOPTS the report and recommendation in full.

IT ls so 0RDERED rhis?i‘ad_ August, 2005.

 

J. A [IEL BREEN
IT D STATES DISTRICT JUDGE

This document entered on the docket sheet in compliance
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l According to Defendant’s Answer filed February 10, 2005, the Complaint incorrectly identities
Defendant as Citicorp Credit Services, Inc. (USA) d/b/a Goodyear Credit Plan. Defendant`s correct ?

identification is Citibank USA, National Association.

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:05-CV-02095 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

R. Alan Pritchard

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/lemphis7 TN 38103

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

1\/lemphis7 TN 38103

Gary C. McCullough
MCCULLOUGH & MCCULLOUGH
9050 Corporate Gardens Dr.
Germantovvn7 TN 3 8138

Kenneth M. Bryant
1\/[[LLER & MARTIN LLP
150 4th Ave., N.

Ste. 1200

Nashville, TN 37219--243

Honorable J. Breen
US DISTRICT COURT

